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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER DENYING MOTION TO
                                                                         10   This Order Relates To:                  )   SHORTEN TIME
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11     Case No. 3:14-cv-02510                )
                                                                                                                      )
                                                                         12     VIEWSONIC CORP.                       )
                                                                                                                      )
                                                                         13                        Plaintiff          )
                                                                                                                      )
                                                                         14             v.                            )
                                                                                                                      )
                                                                         15      CHUNGHWA PICTURE TUBES, LTD.,        )
                                                                              et al,                                  )
                                                                         16                                           )
                                                                                                   Defendants.        )
                                                                         17                                           )
                                                                                                                      )
                                                                         18                                           )
                                                                         19
                                                                         20        Now before the Court is an administrative motion to shorten
                                                                         21   time filed by Defendant Chunghwa Picture Tubes, Ltd. and Chunghwa
                                                                         22   Picture Tubes (Malaysia) Sdn. Bhd. (collectively, "Chunghwa").        ECF
                                                                         23   No. 3474 ("Mot.").    Citing the impending trial date and various
                                                                         24   other pre-trial deadlines, Chunghwa seeks to shorten the time for
                                                                         25   Plaintiff ViewSonic Corporation to respond to Chunghwa's motion to
                                                                         26   exclude certain allegedly late-disclosed evidence pursuant to
                                                                         27   Federal Rule of Civil Procedure 37(c)(1).        ECF No. 3473 ("37(c)(1)
                                                                         28   Mot.").   Under Chunghwa's proposed schedule, ViewSonic would be
                                                                               Case 3:07-cv-05944-JST Document 3497 Filed 01/29/15 Page 2 of 2




                                                                          1   ordered to file its opposition to the motion to exclude by January
                                                                          2   29, 2015, Chunghwa would file its reply by February 3, 2015, and
                                                                          3   the motion would be heard along with the pending summary judgment
                                                                          4   motions on Friday, February 6, 2015.
                                                                          5        ViewSonic opposes the request, arguing that it will be
                                                                          6   prejudiced by being forced to respond to Chunghwa's motion to
                                                                          7   exclude just two days after opposing this motion and in the midst
                                                                          8   of preparing for trial on March 9, 2015.        See ECF No. 3493
                                                                          9   ("Opp'n") at 1-2.    As a result, ViewSonic argues the motion should
                                                                         10   be governed by the schedule set forth by the local rules, which
                               For the Northern District of California
United States District Court




                                                                         11   would require ViewSonic to file its opposition to the motion to
                                                                         12   exclude on February 6, 2015, Chunghwa to serve its reply by
                                                                         13   February 13, 2015, and the motion to be heard on March 6, 2015.
                                                                         14        In light of the prejudice ViewSonic will suffer if it is
                                                                         15   forced to respond with such short notice, the motion is DENIED.
                                                                         16   Instead, briefing on the motion to exclude shall be governed by the
                                                                         17   schedule set forth in the local rules.        To accommodate Chunghwa's
                                                                         18   concerns about the hearing date's proximity to the trial date, the
                                                                         19   Court ORDERS the motion to be set for a hearing on Friday, February
                                                                         20   20, 2015 at 10:00 AM.
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                                                                         22        IT IS SO ORDERED.
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                                                                         24        Dated: January 29, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
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